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IN THE UNITED STATES DISTRICT COURT 05 AUG 214 AH 7‘-' 00
FOR THE WESTERN DISTRICT OF TENNESSEE .n wm M GOUD

WESTERN DIVISION UM UlS_ USTR=U M
WfD GF `;'3"1, §:i§ii.£?iilg

UNITED STATES OF AMERICA,
Plaintiff, Case No.'. 04-20314 D

V.

NANCY WILLIS and VICKIE HERRON

*********

Defendants.

 

ORDER WITHDRAWING DAUBERT REQUEST AND
STR]KING THE HEA_RING

 

It appears to the court that the parties moved ore tenus to Withdraw its request for a Daubert
hearing Accordingly, the court will strike the August 30, 2005 hearing referenced in the court’s

minutes (Docket # 82).

IT IS SO ORDERED this eéjzg day off Z(VA , 2005.
Q@’: w

B ICE BoUIE DoNALD '
UNITED sTATEs DISTRICT JUDGE

Thls document entered on the docket sheet in compliance

with Ru|e 55 ami/or 32(b} FRCrP on 8'2 S:QQ §§ j

 

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Honorable Bernioe Donald
US DISTRICT COURT

